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                            Exhibit
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                                                                                               EXHIBIT


                             UNITED STATES DISTRICT COURT
                                                                                                30
                                                                                              24-cv-00779
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

  MAX MINDS, LLC,                                        )
                                                         )
                       Plaintiff,                        )
                                                         )
                 v.                                      ) Case No.: 1:24-cv-00779-JPH-MG
                                                         )
  TRIANGLE EXPERIENCE GROUP, INC., et al,                )
                                                         )
                       Defendants.                       )

             TRIANGLE EXPERIENCE GROUP, INC.’S SECOND AMENDED
                ANSWERS AND OBJECTIONS TO MAX MINDS, LLC’S
           FIRST SET OF PRELIMINARY INJUNCTION INTERROGATORIES

        Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure, the Court’s

 scheduling orders related to Plaintiff Max Minds, LLC’s (“Max”) Motion for Preliminary

 Injunction and Seizure Order (the “Motion”), the various agreements of counsel made in the

 meet and confer process, and the Parties’ October 1, 2024 Stipulation regarding the definition of

 Software and Source Code with respect to Preliminary Injunction Discovery, Defendant Triangle

 Experience Group, Inc. (“TEG”) provides the following second amended answers and objections

 to Max’s first set of preliminary injunction interrogatories directed to TEG.

                                       INTERROGATORIES

   1. Please provide the name(s), residence address, business address, telephone number,
 email and occupation of the person answering these Interrogatories.

 OBJECTIONS:

        TEG objects to this interrogatory to the extent it seeks information protected by attorney-

 client privilege or the work-product doctrine. During the Parties’ initial meet and confer

 conference, Max indicated that it would narrow the scope of this interrogatory by asking TEG to

 identify only TEG representatives who provided information used in answering Max’s
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 Interrogatories. TEG accepts Max’s proposal to narrow the scope of Interrogatory No. 1 to identify

 only TEG representatives and responds as follows.

 ANSWER:

        The following TEG representatives provided information used to answer Max’s

 Interrogatories:

        Robert Clare, Chief Executive Officer of TEG (contact through counsel)

        Jeff Mase, Chief Operating Officer of TEG (contact through counsel)

        Kevin Mullican, Chief Technology Officer of TEG (contact through counsel)

      2. Please provide the name, address, telephone number, place of employment and job
 title of any person who has, claims to have or whom you believe may have knowledge or
 information pertaining to the facts alleged in the Declarations of Brandon Fischer and
 Robert Simon filed in support of Max’s Motion for Preliminary Injunction.

 OBJECTIONS:

        TEG objects to this interrogatory on the grounds that it is overly broad, unduly

 burdensome and compound. The Brandon Fischer Declaration is 19 pages long, has a table of

 contents with 18 separate subparts, contains 129 paragraphs, and covers a wide variety of topics

 and legal arguments, which essentially track the allegations contained in Max’s entire Complaint.

 Such an interrogatory is vague, ambiguous, overbroad, and not stated with reasonable

 particularity, as it is impossible for TEG to understand what particular facts Max is referring to

 in this interrogatory request. TEG further objects to this request on the ground that such vague

 “facts” are outside the scope of the limited discovery of Max’s Motion. Moreover, TEG cannot

 possibly have within its knowledge the identity of any person “who has” or “claims to have”

 knowledge or information pertaining to the entirety of Brandon Fischer’s declaration, which was

 prepared by him – not TEG. TEG repeats all the foregoing objections to this interrogatory’s

 requests for the same information relating to the Robert Simon Declaration.


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        During the meet and confer process, TEG agreed to answer this Interrogatory No. 2 as

 amended in Max’s counsel’s letter dated July 27, 2024, namely: “Please provide the name,

 address, telephone number, place of employment and job title of any person who has,

 claims to have or whom you believe may have knowledge or information pertaining to the

 matters discussed in your answers to Interrogatories 4, 6, 7 and 8 below.”

 ANSWER:

        The following persons have, claim to have, or TEG believes may have knowledge or

 information pertaining to TEG’s responses to Interrogatory Nos. 4, 6, 7 and 8.

        1. Robert Clare
           Triangle Experience Group, Inc.
           Contact through undersigned counsel

        Mr. Clare is the Chief Executive Officer of TEG. Mr. Clare has knowledge regarding the

 formation of the Joint Venture Agreement (the “JVA”), the parties’ intended meaning and

 purpose of the JVA, daily and weekly communications with Max regarding the performance of

 the JVA, Max’s repeated failures to satisfactorily comply with Max’s obligations under the JVA,

 and other related matters. Such related matters include TEG’s substantial contributions to the

 development of the software at issue in this case and TEG’s co-ownership of that software.

        Mr. Clare also has knowledge of the vital public interest in maintaining the status quo to

 ensure TEG’s continued ability to provide the software at issue to its customers, the related threat

 to national security interests should a preliminary injunction issue, and the severe harm and

 hardship a preliminary injunction would cause to TEG and the U.S. Government.




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        2. Jeff Mase
           Triangle Experience Group, Inc.
           Contact through undersigned counsel

        Mr. Mase is the Chief Operating Officer of TEG. Mr. Mase has general knowledge

 regarding the JVA, daily and weekly communications with Max regarding the performance of

 the JVA, Max’s repeated failures to satisfactorily comply with Max’s obligations under the JVA,

 and other related matters. Such related matters include TEG’s substantial contributions to the

 development of the software at issue in this case and TEG’s co-ownership of that software.

        Mr. Mase also has knowledge of the vital public interest in maintaining the status quo to

 ensure TEG’s continued ability to provide the software at issue to its customers, the related threat

 to national security interests should a preliminary injunction issue, and the severe harm and

 hardship a preliminary injunction would cause to TEG and the U.S. Government.

        3. Michael Bowers
           Triangle Experience Group, Inc.
           Contact through undersigned counsel

        Mr. Bowers is the Chief Strategy Officer of TEG. Mr. Bowers has general knowledge

 regarding the JVA, daily and weekly communications with Max regarding the performance of

 the JVA, Max’s repeated failures to satisfactorily comply with Max’s obligations under the JVA,

 and other related matters. Such related matters include TEG’s substantial contributions to the

 development of the software at issue in this case and TEG’s co-ownership of that software.

        Mr. Bowers also has knowledge of the vital public interest in maintaining the status quo

 to ensure TEG’s continued ability to provide the software at issue to its customers, the related

 threat to national security interests should a preliminary injunction issue, and the severe harm

 and hardship a preliminary injunction would cause to TEG and the U.S. Government.




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        Finally, Mr. Bowers also has knowledge of TEG’s secure handling of software source

 code and maintenance of the security and secrecy of any trade secrets associated with the

 software at issue in this case or its source code. Mr. Mullican also has knowledge of TEG’s

 compliance with the Stipulation to Lift Seal (Dkt. 44).

        4. Larry Lins
           Triangle Experience Group, Inc.
           Contact through undersigned counsel

        Mr. Lins is the Director of International Engagements for TEG. Mr. Lins has knowledge

 regarding the formation of the Joint Venture Agreement (the “JVA”), the parties’ intended

 meaning and purpose of the JVA, daily and weekly communications with Max regarding the

 performance of the JVA, Max’s repeated failures to satisfactorily comply with Max’s obligations

 under the JVA, and other related matters. Such related matters include TEG’s substantial

 contributions to the development of the software at issue in this case and TEG’s co-ownership of

 that software.

        Mr. Lins also has knowledge of the vital public interest in maintaining the status quo to

 ensure TEG’s continued ability to provide the software at issue to its customers, the related threat

 to national security interests should a preliminary injunction issue, and the severe harm and

 hardship a preliminary injunction would cause to TEG and the U.S. Government.

        5. Kevin Mullican
           Triangle Experience Group, Inc.
           Contact through undersigned counsel

        Mr. Mullican is the Chief Technology Officer of TEG. Mr. Mullican has general

 knowledge regarding the JVA, daily and weekly communications with Max regarding the

 performance of the JVA, Max’s repeated failures to satisfactorily comply with Max’s obligations

 under the JVA, and other related matters. Such related matters include TEG’s substantial



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 contributions to the development of the software at issue in this case and TEG’s co-ownership of

 that software.

        Mr. Mullican also has knowledge of TEG’s secure handling of software source code and

 maintenance of the security and secrecy of any trade secrets associated with the software at issue

 in this case or its source code. Mr. Mullican also has knowledge of TEG’s compliance with the

 Stipulation to Lift Seal (Dkt. 44).

        6. David Sinnk
           Triangle Experience Group, Inc.
           Contact through undersigned counsel

        Mr. Sinnk is the Director of Technical Operations of TEG. Mr. Sinnk has general

 knowledge regarding the JVA, daily and weekly communications with Max regarding the

 performance of the JVA, Max’s repeated failures to satisfactorily comply with Max’s obligations

 under the JVA, and other related matters. Such related matters include TEG’s substantial

 contributions to the development of the software at issue in this case and TEG’s co-ownership of

 that software.

        Mr. Sinnk also has knowledge of TEG’s secure handling of software source code and

 maintenance of the security and secrecy of any trade secrets associated with the software at issue

 in this case or its source code. Mr. Mullican also has knowledge of TEG’s compliance with the

 Stipulation to Lift Seal (Dkt. 44).

        7. Janna Clare
           Triangle Experience Group, Inc.
           Contact through undersigned counsel

        Mrs. Clare is the Chief Financial Officer of TEG. Mrs. Clare has general knowledge

 regarding the JVA, daily and weekly communications with Max regarding the performance of

 the JVA, Max’s repeated failures to satisfactorily comply with Max’s obligations under the JVA,



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 and other related matters. Such related matters include TEG’s monetary payments made to Max

 for engineering services and custom software development for TEG.

        8. Brandon Fischer
           Max Minds, LLC
           c/o SRIPLAW, P.A.
           21301 Powerline Road
           Suite 100
           Boca Raton, FL 33433

        Mr. Fischer is the Founder of Max Minds. Mr. Fischer has knowledge regarding the

 formation of the JVA, the parties’ intended meaning and purpose of the JVA, daily and weekly

 communications with TEG regarding the performance of the JVA, Max’s repeated failures to

 satisfactorily comply with Max’s obligations under the JVA, and other related matters. Such

 related matters include TEG’s substantial contributions to the development of the software at

 issue in this case and TEG’s co-ownership of that software.

        9. Jennifer Ryan
           Max Minds, LLC
           c/o SRIPLAW, P.A.
           21301 Powerline Road
           Suite 100
           Boca Raton, FL 33433

        Ms. Ryan is or was an employee of Max Minds with the title “Haptic Federal Project

 Manager.” Ms. Ryan has knowledge regarding the JVA, daily and weekly communications with

 TEG regarding the performance of the JVA, Max’s repeated failures to satisfactorily comply

 with Max’s obligations under the JVA, and other related matters. Such related matters include

 TEG’s substantial contributions to the development of the software at issue in this case and

 TEG’s co-ownership of that software.




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        10. James Gilcrest
            Max Minds, LLC
            c/o SRIPLAW, P.A.
            21301 Powerline Road
            Suite 100
            Boca Raton, FL 33433

        Mr. Gilcrest is an employee of Max Minds. Mr. Gilcrest has knowledge regarding the

 JVA, daily and weekly communications with TEG regarding the performance of the JVA, Max’s

 repeated failures to satisfactorily comply with Max’s obligations under the JVA, and other

 related matters. Such related matters include TEG’s substantial contributions to the development

 of the software at issue in this case and TEG’s co-ownership of that software.

        11. Scott Herren
            Max Minds, LLC
            c/o SRIPLAW, P.A.
            21301 Powerline Road
            Suite 100
            Boca Raton, FL 33433

        Mr. Herren is an employee of Max Minds. Mr. Herren has knowledge regarding the JVA,

 daily and weekly communications with TEG regarding the performance of the JVA, Max’s

 repeated failures to satisfactorily comply with Max’s obligations under the JVA, and other

 related matters. Such related matters include TEG’s substantial contributions to the development

 of the software at issue in this case and TEG’s co-ownership of that software.

        12. Rich Gargus
            Max Minds, LLC
            c/o SRIPLAW, P.A.
            21301 Powerline Road
            Suite 100
            Boca Raton, FL 33433

        Mr. Gargus is an employee of Max Minds. Mr. Gargus has knowledge regarding the

 JVA, daily and weekly communications with TEG regarding the performance of the JVA, Max’s


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  repeated failures to satisfactorily comply with Max’s obligations under the JVA, and other

  related matters. Such related matters include TEG’s substantial contributions to the development

  of the software at issue in this case and TEG’s co-ownership of that software.

         13. Robert Schuster
             Squad Wall
             Squadwall.com
             c/o Squadware, Inc.
             1208 N. County Road 425 E
             Avon, IN 46123

         Mr. Schuster is a former employee or independent contractor of Max Minds. Mr.

  Schuster has knowledge regarding the formation of the JVA, the parties’ intended meaning and

  purpose of the JVA, daily and weekly communications with TEG regarding the performance of

  the JVA, Max’s repeated failures to satisfactorily comply with Max’s obligations under the JVA,

  and other related matters. Such related matters include TEG’s substantial contributions to the

  development of the software at issue in this case and TEG’s co-ownership of that software.

         14. Megan Nordwig
             Max Minds, LLC
             c/o SRIPLAW, P.A.
             21301 Powerline Road
             Suite 100
             Boca Raton, FL 33433

         Ms. Nordwig is an employee of Max Minds. Ms. Nordwig has knowledge regarding the

  JVA, daily and weekly communications with TEG regarding the performance of the JVA, Max’s

  repeated failures to satisfactorily comply with Max’s obligations under the JVA, and other

  related matters. Such related matters include TEG’s substantial contributions to the development

  of the software at issue in this case and TEG’s co-ownership of that software.




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     3. Please summarize the nature and substance of the knowledge and information that
  you believe the person(s) identified in your response to Interrogatory No. 2 may have.

  OBJECTIONS:

         TEG hereby repeats and incorporates by reference each of its objections related to

  Interrogatory No. 2 above.

         During the meet and confer process, TEG agreed to answer this Interrogatory No. 3 as

  amended in Max’s counsel’s letter dated July 27, 2024, namely, to limit the scope of

  Interrogatory No. 3 in the same manner as Interrogatory No. 2 above.

  ANSWER:

         See TEG’s answer to Interrogatory No. 2 for the requested summary corresponding to each

  of the persons identified in response to Interrogatory No. 2.

     4. If you contend that Max’s Motion for Preliminary Injunction should be denied in
  whole or in part, please summarize the reasons why it should be denied including all your
  defenses to the entry of the Motion for Preliminary Injunction.

  OBJECTIONS:

         TEG objects to this request because it is overly broad, unduly burdensome, seeks legal

  conclusions as a part of fact discovery, and seeks information protected by the attorney-client

  privilege and the work-product doctrine. Max bears the burden of establishing the well-known

  elements for entry of a preliminary injunction and it would be premature and not in accordance

  with the scheduling order entered by the Court in connection with Max’s Motion to require TEG

  to state each and every reason why Max’s Motion should be denied. As such, this is a contention

  interrogatory, as defined by Fed. R. Civ. P. 33(a)(2). Additionally, Max’s interrogatory request

  for all reasons why Max’s Motion should be denied, “in whole or in part,” is vague, ambiguous,

  not proportional to the needs of Max’s Motion, and stated without reasonable particularity.




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  TEG’s opposition to Max’s Motion will be fully briefed according to the briefing schedule set by

  the Court.

         During the meet and confer process, TEG agreed to answer this Interrogatory as written.

  ANSWER:

         Max’s Motion for Preliminary Injunction should be denied in whole for the following

  reasons.

  Max’s Request for Seizure under the DTSA

         Max seeks an ex parte seizure order under the Defend Trade Secrets Act (“DTSA”), 18

  U.S.C. § 1836(b)(2)(A). TEG contends that ex parte seizure is unnecessary and unwarranted

  under the facts and the law. A court may not order such a seizure under the DTSA unless all of

  the following conditions clearly appear from specific facts: (1) an injunction or other equitable

  relief would be inadequate “because the party to which the order would be issued would evade,

  avoid, or otherwise not comply with such an order;” (2) an immediate and irreparable injury will

  occur if the seizure is not ordered; (3) the harm to the party requesting the seizure if the seizure is

  denied outweighs the harm to the legitimate interests of the person against whom seizure would

  be ordered if so granted and substantially outweighs the harm to any third parties impacted by

  the seizure; (4) the party requesting the seizure is likely to succeed in showing: (a) the

  information is a trade secret; and (b) the party who would be subject to the seizure order

  misappropriated the trade secret by improper means or conspired to use improper means to

  misappropriate the trade secret; (5) the person against whom seizure would be ordered has actual

  possession of the trade secret and any property to be seized; (6) the application for seizure

  “describes with reasonable particularity the matter to be seized and, to the extent reasonable

  under the circumstances, identifies the location where the matter is to be seized;” (7) the party



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  against whom seizure is sought, or individuals acting in concert with that party, “would destroy,

  move, hide, or otherwise make such matter inaccessible to the court” if notice were given; and

  (8) the party seeking seizure has not publicized the requested seizure. 18 U.S.C. §

  1836(b)(2)(A)(ii). Max cannot meet all of these conditions.

            First, Max cannot demonstrate the crucial requirement that an order issued under Fed. R.

  Civ. P. 65 would be inadequate because TEG “would evade, avoid, or otherwise not comply with

  such an order.” 18 U.S.C. § 1836(b)(2)(A)(ii). Simply by bringing its preliminary injunction

  motion, Max has effectively conceded that preliminary injunctive relief (sought on notice to

  TEG) would be adequate and, therefore, an ex parte seizure order is unnecessary. Moreover,

  TEG’s actions before the Court belie any claim that TEG would ever fail to comply with a Court

  order. After conferring with Max’s counsel regarding its concerns about alleged public

  disclosure of the source code’s trade secrets, TEG removed from public access the URLs and

  servers in question.1 TEG further certified in a “so ordered” Stipulation to Lift Seal “that public

  internet access to the software and the allegedly copyrighted and trade secret source code has

  been disabled/terminated and will remain disabled/terminated during the pendency of this

  lawsuit and/or until further order of this Court.” (Stipulation to Lift Seal, So Ordered June 4,

  2024, Dkt. 44.)

            Second, the servers that Max’s motion describes with reasonable particularity as the

  matter to be seized2 are the very same servers that TEG has agreed under Court Order “will

  remain disabled/terminated during the pendency of this lawsuit and/or until further order of this

  Court.” (Stipulation to Lift Seal, So Ordered June 4, 2024, Dkt. 44.) It is thus evident that, even



  1
      At the same time, Max was also exposing the same information publicly via its own website.
  2
      See PI Br. 25, Dkt. 13; Simon Decl. and Ex. 1, Dkt. 14 and 14-1.


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  if any extraordinary and urgent circumstances ever did exist (which TEG denies), those

  circumstances have long passed. Moreover, as TEG notes in response to Interrogatory Nos. 6 and

  7, TEG does not have actual possession of any other material that Max may argue is subject to

  seizure.

         Finally, as demonstrated below, Max cannot make the clear showing required for several

  other crucial requirements under the DTSA, which essentially repeat the elements required for

  issuance of a Rule 65 preliminary injunction.

  Max’s Request for Preliminary Injunction

         To prevail on its motion for preliminary injunction, Max must show (1) a reasonable

  likelihood of success on the merits, (2) no adequate remedy at law, and (3) irreparable harm if

  preliminary relief is denied. Graham v. Medical Mut., 130 F.3d 293, 295 (7th Cir. 1997). If Max

  can demonstrate these three requirements (the “threshold phase”), the Court continues to the

  “balancing phase.” Valencia v. City of Springfield, Ill., 883 F.3d 959, 965 (7th Cir. 2018). If it

  reaches the balancing phase, the Court must weigh the harm TEG will suffer if the injunction is

  granted against the irreparable harm to Max if the injunction is denied. Id. The Court must also

  consider whether a preliminary injunction is in the public interest. Id. Max faces a burden that is

  especially high here because it seeks relief that would alter the status quo rather than maintain it.

  Such a mandatory preliminary injunction is rarely issued and only “upon the clearest equitable

  grounds.” Graham, 130 F.3d at 295. Max cannot meet this stringent standard.

         Max is Unlikely to Succeed on the Merits of its Claims

         TEG has moved to dismiss each of Max’s substantive claims under Rule 12(b)(6) of the

  Federal Rules of Civil Procedure. For all of the reasons provided in TEG’s opening brief in

  support of its motion to dismiss [Dkt. 52] and in TEG’s reply brief in further support of its

  motion to dismiss [Dkt. 69], Max is unlikely to succeed on the merits of its trade secret claims


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  (Counts I and II), copyright infringement claim (Count III), DMCA claims (Counts IV and V),

  and its Lanham Act claim (Count VI). TEG need not repeat those arguments here but

  incorporates them in full by reference.

         For purposes of the motion to dismiss only, TEG assumed the sufficiency of Max’s

  allegations of a trade secret. Based on Max’s responses to TEG’s discovery requests, however,

  TEG contends that Max has not sufficiently identified any trade secret at issue. The crux of any

  trade secrets claim turns upon the identification of a trade secret. 18 U.S.C. § 1836(b)(1). Indeed,

  Max must identify the trade secret and carry the burden of proving that it is, in fact, a trade

  secret. IDX Sys. Corp. v. Epic Sys. Corp., 285 F.3d 581, 584 (7th Cir. 2002) (applying Indiana’s

  trade secret act). Max states only that the entirety of the software is a trade secret. This is, TEG

  contends, insufficient identification of a trade secret.

         For purposes of the motion to dismiss only, TEG assumed Max’s ownership of a valid

  copyright. TEG contends, however, that Max’s claim to sole ownership of the copyrights in the

  software and source code is contrary to the facts and the law because the facts in this case will

  demonstrate that TEG provided significant and sustained contributions of authorship to the

  software and source code. The parties, based on their significant business relationship and joint

  work on the software and source code, intended to create the software and code. Thus, TEG and

  Max are joint authors and joint owners of the software and source code. As such, not only are the

  copyright registrations alleged in Max’s complaint invalid and should be cancelled , but also,

  TEG is the joint owner of any alleged trade secrets found within the software and source code.

  At the very least, TEG is an authorized licensee of the software and source code.




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         Max Cannot Establish Irreparable Harm
         Monetary Damages Are an Adequate Remedy

         Max has failed to explain why the calculation of monetary damages based on TEG’s

  continued sales of the software would fail to compensate it for any injury, should it prevail in its

  claims against TEG. Where monetary compensation can atone for the harm, it is not irreparable.

  Moreover, even though it became clear that Max’s and TEG’s business relationship was in

  serious dispute at least as early as December 2023 when TEG filed its first lawsuit against Max

  in the district court for the Eastern District of Virginia, Max failed to seek preliminary injunctive

  relief until nearly six months later. Such a long delay seriously undermines Max’s claim that an

  injunction is necessary to prevent immediate, irreparable injury to Max.

         Max appears to rely on a presumption of irreparable injury should it show that it is likely

  to succeed on the merits of its copyright claims. After the Supreme Court decision in eBay v.

  MercExchange, however, courts including the Seventh Circuit have made clear that no such

  presumption can be applied in a copyright case. See Flava Works, Inc. v. Gunter, 689 F.3d 754,

  755 (7th Cir. 2012) (finding the district court erred when, as a practical matter, it limited its

  analysis to plaintiff’s likelihood of success on its copyright claims and presumed irreparable

  injury) (citing eBay, Inc. v. MercExchange, LLC, 547 U.S. 388, 392-93 (2006)).

         Max’s motion for preliminary injunction should be denied based on its failure to meet the

  threshold elements alone. Kiel v. City of Kenosha, 236 F.3d 814, 817 (7th Cir. 2000) (finding that

  plaintiff’s failure to meet the threshold elements for obtaining preliminary injunctive relief is

  sufficient to end the analysis). Nevertheless, the balance of harm as well as the public interest

  both weigh heavily in TEG’s favor and against the issuance of a preliminary injunction.




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         The Balance of Harm and Hardship Favors TEG
         The Public Interest is Not Served by the Issuance of Preliminary Injunctive Relief

         The issuance of the preliminary injunction requested by Max would potentially put TEG

  out of business. The impact of the Court’s granting the relief Max articulated at the August 8,

  2024 discovery hearing would be catastrophic to TEG’s business. An injunction would likely

  force TEG to breach its contracts with existing government customers, particularly the

  Department of Defense (DoD), and prevent it from acquiring new government customers. Such

  an injunction would constitute, in effect, an injunction against the federal government, which is

  impermissible under 28 U.S.C. § 1498(b). TEG’s government customers must be able to perform

  their essential functions without the threat of judicial interference that could impede or halt their

  operations. This principle extends to actions that would indirectly enjoin the government by

  targeting its contractors, such as TEG. In the context of national security, this principle is even

  more crucial. The government relies on contractors like TEG for critical software services

  essential to national defense operations. Enjoining TEG would disrupt these operations, which

  are vital to national security, thus implicating serious public policy concerns.

         On the other hand, there is no hardship to Max should the injunction fail to issue. The

  parties will merely continue operating under the status quo of the Joint Venture Agreement.

  Depending on the outcome of this and the First Filed Action, ultimately, one party may owe the

  other party monetary compensation. Responsible accounting practices during the pendency of

  both actions will protect both parties. The balance of harm and hardship weighs heavily in favor

  of TEG.

         Max has not shown that the public interest will be served by preliminary injunctive relief.

  The interests of national defense and national security are rightly considered when entertaining

  requests for injunction in the government contracts context. But Max is incorrect that these



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  concerns favor injunctive relief here. To the contrary, if the preliminary injunction were granted,

  the Nation’s security would be threatened. When national defense and national security interests

  are concerned, the law is clear that public interest militates against awarding injunctive relief.

  The public interest therefore strongly disfavors Max’s request for preliminary injunctive relief.

         TEG reserves the right to supplement this answer to Interrogatory No. 4 as discovery is

  ongoing.

      5. If your contention that Max’s Motion for Preliminary Injunction should be denied
  relies in whole or in part on the provisions of the EULA, the SCLA, the MDNA, the PP, the
  JVA, the CA, or any other document, please set forth what provisions of what document
  you rely upon and explain why the provisions provide a basis for denial of the Motion for
  Preliminary Injunction.

  OBJECTIONS:

         TEG objects to this request because it is overly broad, unduly burdensome, compound,

  seeks legal conclusions as a part of fact discovery, is cumulative of Interrogatory No. 4, and

  seeks information protected by the attorney-client privilege and the work-product doctrine. Max

  bears the burden of establishing the well-known elements for entry of a preliminary injunction

  and it would be premature and not in accordance with the scheduling order entered by the Court

  in connection with Max’s Motion to require TEG to state each and every contractual reason why

  Max’s Motion should be denied. As such, this is a contention interrogatory, as defined by Fed. R.

  Civ. P. 33(a)(2). In addition, Max’s interrogatory request for all reasons why Max’s Motion

  should be denied, “in whole or in part,” on “the provisions of” six separate documents is vague,

  ambiguous, overbroad, not proportional to the needs of the case, and stated without reasonable

  particularity. TEG’s opposition to Max’s Motion will be fully briefed according to the briefing

  schedule set by the Court.




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         During the meet and confer process and as confirmed in Max’s counsel’s letter dated

  August 1, 2024, Max has agreed to defer Interrogatory No. 5 and, therefore, TEG need not

  provide an answer to this Interrogatory at this time. TEG reserves the right to raise any

  objections should Max seek to have this interrogatory answered at a later date.

     6. Are you in possession of the Software? If so, please list all copies of the Software in
  your possession, including the physical and IP address location of each computer,
  computer server, or electronic media (including all USB thumb drives, DVDs, etc.)
  containing the Software. Your identification of the copies of the Software in your
  possession should be specific enough to permit the parties or the court to indicate in an
  order or stipulation what action must be taken or what disposition must be made
  concerning each copy.

  OBJECTIONS:

         TEG objects to this interrogatory on the ground that it contains multiple interrogatories

  within a single interrogatory. TEG further objects to this request on the ground that it is

  irrelevant to any Party’s claim or defense of the merits of Max’s Motion. Rather, this request

  appears to relate solely to Max’s requested remedies of injunction and seizure.

         During the meet and confer process, TEG agreed to answer this Interrogatory as written.

  ANSWER:

         See Response to Interrogatory No. 7.

      7. Are you in possession of Source Code? If so, please list all copies of the Source Code
  in your possession, including the physical and IP address location of each computer,
  computer server, or electronic media (including all USB thumb drives, DVDs, etc.)
  containing the Source Code. Your identification of copies of the Source Code in your
  possession should be specific enough to permit the parties or the court to indicate in an
  order or stipulation what action must be taken or what disposition must be made
  concerning each copy.

  OBJECTIONS:

         TEG objects to this interrogatory on the ground that it contains multiple interrogatories

  within a single interrogatory. TEG further objects to this request on the ground that it is


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  irrelevant to any Party’s claim or defense of the merits of Max’s Motion. Rather, this request

  appears to relate solely to Max’s requested remedies of injunction and seizure.

         During the meet and confer process, TEG agreed to answer this Interrogatory as written.

  ANSWER:

         Based on the Parties’ stipulated definition of Source Code and Software for purposes of

  Preliminary Injunction Discovery, Source Code and Software within TEG’s possession is located:

     •   Stored in the history of repositories located in the “Triangle Experience Group-
         Development” organization in GitHub

     •   In Azure DevOps (“ADO”) repositories located in the “TEG-Development-Workspace”
         workspace

     •   On the following servers:

             o   vjocappserver01 = 10.0.0.4

             o   dev-vjoc-app = 10.0.0.6

             o   vjoc-dev-qa = 10.0.0.7

     •   Local copies on the following computers:

             o   DEV LAPTOP 1 - Lenovo ThinkPad X1 - PF-4JNENL

             o   DEV LAPTOP 2 - Lenovo Thinkpad X1 - P4-4EMZC3

             o   DEV LAPTOP 3 - Lenovo Thinkpad X1 - PF - 4JNEN9



      8. Do you contend that any copies of the Software or Source Code you identified in
  response to the two prior questions are Derivative Works? If so, please explain why you
  contend that they are Derivative Works, identify the Software or Source Code versions that
  the Derivative Works were derived from, list all individuals involved in creating the
  Derivative Works, and list all the Derivative Works copies in your possession, including the
  physical and IP address location of each computer, computer server, or electronic media
  (including all USB thumb drives, DVDs, etc.) containing the Derivative Works. Your
  identification should be specific enough to permit the parties or the court to indicate in an
  order or stipulation what action must be taken or what disposition must be made
  concerning each copy.




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  OBJECTIONS:

          TEG objects to this interrogatory on the ground that it contains multiple interrogatories

  within a single interrogatory. TEG further objects to this request on the ground that it is

  irrelevant to any Party’s claim or defense of the merits of Max’s Motion. Rather, this request

  appears to relate solely to Max’s requested remedies of injunction and seizure.

          During the meet and confer process, TEG agreed to answer this Interrogatory as written.

  ANSWER:

           At this stage of early Preliminary Injunction Discovery, with respect to what Software or

  Source Code at issue in this matter may constitute a “derivative work” within the meaning of the

  Copyright Act, TEG makes no contentions, agreements, or admissions. Whether any of the

  Software or Source Code at issue constitute a derivative work of any particular Software or

  Source Code is an ultimate conclusion of law based on disputed issues of fact to be determined

  by the trier of fact.

          Applying the Copyright Act’s definition of “derivative work,” 17 U.S.C. § 101, TEG

  states that Software or Source Code arguably constituting a derivative work(s) works based upon

  (1) Prysm’s “Synthesis” program and/or (2) TEG’s preexisting technology provided by TEG to

  Brandon Fischer and/or Max may be found in TEG’s possession in the history of repositories

  located in the “Triangle Experience Group-Development” organization in GitHub and:

      •   Local copies on the following computers:

              o   DEV LAPTOP 1 - Lenovo ThinkPad X1 - PF-4JNENL

              o   DEV LAPTOP 2 - Lenovo Thinkpad X1 - P4-4EMZC3

              o   DEV LAPTOP 3 - Lenovo Thinkpad X1 - PF - 4JNEN9




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     TEG lacks full knowledge or information concerning the individuals involved in creating the

  derivative works who were employed or contracted by Fischer and/or Max. On information and

  belief, TEG identifies the following individuals:

     •   Brandon Fischer

     •   Jennifer Ryan

     •   Chad Coles

     •   James Gilcrest

     •   Scott Herren

     •   Rich Gargus

     •   Robert Schuster

     •   Megan Nordwig

     •   Stefan Wywior

     •   Szymon Szelag

     •   Additional unknown non-U.S. citizen software developers

     With respect to TEG individuals involved in creating the derivative works, TEG identifies the

  following individuals:

     •   Kevin Mullican

     •   Philip Branning

     •   Jeff Mase

     •   Robert Clare

     •   Michael Bowers


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     •   Mark Mahoney

     •   Leland Kraatz

     •   Kirk Etchberger

     •   David McCutcheon

     •   Dave Sinnk

     •   Larry Lins

     Applying the Copyright Act’s definition of “derivative work,” 17 U.S.C. § 101, TEG states

  that Software or Source Code arguably constituting a derivative work(s) works based upon a

  Haptic Federal version (on information and belief, version 3.1.21.7) may be found in TEG’s

  possession in the repositories located in the Azure DevOps (“ADO”) repositories located in the

  “TEG-Development-Workspace” workspace and:

     •   On the following servers:

             o   vjocappserver01 = 10.0.0.4

             o   dev-vjoc-app = 10.0.0.6

             o   vjoc-dev-qa = 10.0.0.7

     •   Local copies on the following computers:

             o   DEV LAPTOP 1 - Lenovo ThinkPad X1 - PF-4JNENL

             o   DEV LAPTOP 2 - Lenovo Thinkpad X1 - P4-4EMZC3

             o   DEV LAPTOP 3 - Lenovo Thinkpad X1 - PF - 4JNEN9




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                                          VERIFICATION
                                          VERIFICATION

          In accordance
          In accordance with
                        with 28 U.S.C. §
                             28 U.S.C. § 1746,
                                         1746, I
                                               I verify
                                                 verify under penalty of
                                                        under penalty of perjury
                                                                         perjury that
                                                                                 that the foregoing
                                                                                      the foregoing
   is
   is true
      true and correct. Executed
           and correct. Executed on
                                 on October
                                    October 15,
                                            15, 2024.
                                                2024.



                                               TRIANGLE
                                               TRIANGLE EXPERIENCE GROUP, INC.
                                                        EXPERIENCE GROUP, INC.


                                               ae       Robert
                                                        Robert Clare,
                                                               Clare, CEO
                                                                      CEO




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  Dated: October 15, 2024           AS TO OBJECTIONS:

                                    Respectfully submitted,

                                    s/ Samuel J. Banks
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                                  CERTIFICATE OF SERVICE

         The undersigned hereby certifies that on October 15, 2024, the foregoing document was

  served on the following via electronic mail.

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                                                           /s/ Samuel J. Banks
                                                           Samuel J. Banks




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